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              UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF TEXAS
                    AMARILLO DIVISION


 Susan Neese, M.D., and James Hurly,
 M.D., on behalf of themselves and
 others similarly situated,

                        Plaintiffs,
                                                  Case No. 2:21-cv-00163-Z
 v.

 Xavier Becerra, in his official capacity as
 Secretary of Health and Human
 Services; United States of America,

                        Defendants.


                       [PROPOSED] FINAL JUDGMENT
      The Court enters judgment in favor of plaintiffs Susan Neese and James Hurly,
as well as the certified class of all health-care providers subject to section 1557 of the
Affordable Care Act, and against defendants Xavier Becerra and the United States of
America.
      The Court awards the plaintiffs and the certified class relief under 5 U.S.C.
§ 706(2), and it holds unlawful and sets aside Secretary Becerra’s Notification of In-
terpretation and Enforcement of May 10, 2021.
      The Court also awards the plaintiffs and the certified class declaratory relief under
28 U.S.C. § 2201, and it declares as follows:

        1. The plaintiffs and the members of the certified class need not comply
        with the interpretation of “sex” discrimination adopted by Secretary
        Becerra in his Notification of Interpretation and Enforcement of May
        10, 2021; and

        2. Section 1557 of the Affordable Care Act does not prohibit discrimi-
        nation on account of sexual orientation and gender identity, and the
        interpretation of “sex” discrimination that the Supreme Court of the
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      United States adopted in Bostock v. Clayton County, 140 S. Ct. 1731
      (2020), is inapplicable to the prohibitions on “sex” discrimination in
      Title IX of the Education Amendments of 1972 and in section 1557 of
      the Affordable Care Act.
    This is a final judgment that fully and finally resolves all remaining parties and
claims to this suit and may be appealed. All relief not granted in this judgment is
denied.


                                   _________________________________________
                                   MATTHEW J. KACSMARYK
Dated: _____________               UNITED STATES DISTRICT JUDGE
